 Case 3:18-cr-00757-BRM Document 39 Filed 05/15/19 Page 1 of 1 PageID: 275

DNJ-Cr-021 (09/2017)




                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY



  UNITED STATES OF AMERICA
                                              Criminal No. 18-757 (BRM)
                       v.

                                              SENTENCING SUBMISSION NOTICE
                                              OF THE UNITED STATES

     STEPHEN BRADLEY MELL,
            Defendant




        Please be advised that, on this date, the United States submitted sentencing

materials to the Court in this case concerning the defendant Stephen Bradley Mell.




Date: May 15, 2019                             CRAIG CARPENITO
                                               United States Attorney




                                        By:     Danielle Alfonzo Walsman
                                                DANIELLE ALFONZO WALSMAN
                                                Assistant U.S. Attorney
